     Case 3:23-cv-22130-MCR-ZCB           Document 183      Filed 04/03/25   Page 1 of 5




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

ALLIANCE LAUNDRY SYSTEMS LLC,

       Plaintiff,

v.

TRUDY ADAMS, et al.,

        Defendants.
----------------------------------------------------
TRUDY ADAMS, JOHN “CLAY” WILLIAMS,                     Case No.: 23-cv-22130-MCR-ZCB

       Defendants/Counterclaim Plaintiffs,

v.

ALLIANCE LAUNDRY SYSTEMS LLC,
GREG REESE, MIKE HAND, and
SAMANTHA BAKER,

       Plaintiff/Counterclaim Defendants/
       Third-Party Defendants.


                                     MOTION TO SEAL


       Pursuant to Federal Rule of Civil Procedure 5.2(d) and Local Rule 5.5(C),

Alliance Laundry Systems LLC, Greg Reese, Mike Hand, and Samantha Baker

(collectively, the “Counterclaim and Third-Party Defendants”) hereby move

the Court to file certain materials under seal regarding their Notice of

Correction and Exhibits 1 and 2, filed concurrently herewith.
   Case 3:23-cv-22130-MCR-ZCB       Document 183      Filed 04/03/25   Page 2 of 5




         In support of this Motion, the Counterclaim and Third-Party Defendants

state:

         1.   On March 14, 2025, the Counterclaim and Third-Party Defendants

moved to seal certain exhibits filed in connection with their Motion for

Summary        Judgment    on    Defendants’    and      Counterclaim      Plaintiffs’

Counterclaims and Third-Party Claims and Plaintiff’s Motion for Summary

Judgment on Counts 1-5 of the Amended Complaint. See ECF No. 159.

         2.   It recently came to Counterclaim and Third-Party Defendants’

attention that an exhibit with the incorrect deposition excerpts was

inadvertently filed in connection with their Memorandum in Support of

Counterclaim and Third-Party Defendants’ Motion for Summary Judgment.

         3.   Pursuant to the Clerk’s instructions, the Counterclaim and Third-

Party Defendants are filing concurrently herewith a Notice of Correction and

Exhibits 1 and 2 to correct the issue.

         4.   The corrected exhibit (i.e., Exhibit 1 to the Notice of Correction),

the corresponding portion of the Memorandum in Support that cited the

previous exhibit (i.e., Exhibit 2 to the Notice of Correction), and the updated

citation (i.e., pp. 2-3 of the Notice of Correction) reflect or contain the same or

similar confidential information at issue in the Counterclaim and Third-Party

Defendants Motion to Seal filed at ECF No. 159.
   Case 3:23-cv-22130-MCR-ZCB      Document 183    Filed 04/03/25   Page 3 of 5




      5.    For the same reasons set forth in the Counterclaim and Third-

Party Defendants’ prior Motion to Seal, ECF No. 159, which is incorporated by

reference, the Notice of Correction and supporting Exhibits 1 and 2 should be

filed under seal to maintain the confidentiality of the information and prevent

other third parties from utilizing the information to their competitive benefit,

causing further irreparable damage to Alliance.

      6.    This threat of irreparable harm outweighs the public’s interest in

the information, as this information is not a topic of public concern.

      7.    Accordingly, good cause exists to file under seal the Notice of

Correction and supporting Exhibits 1 and 2.

      8.    Pursuant to the Protective Order at p. 11, an unredacted copy of

the proposed sealed materials will be sent to the Clerk’s Office, marked “NOT

FOR DOCKETING – COURTESY COPY – SEALED FILING.”

      WHEREFORE, Alliance Laundry Systems LLC, Greg Reese, Mike Hand,

and Samantha Baker respectfully request that this Court enter an Order

allowing Alliance to file under seal the information and documents filed in

connection with the Notice of Correction.
  Case 3:23-cv-22130-MCR-ZCB     Document 183    Filed 04/03/25   Page 4 of 5




Dated: April 3, 2025

                               /s/ Gabrielle B. Adams
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                               Attorneys for Plaintiff/Counterclaim Defendant,
                               Alliance Laundry Systems LLC, and
                               Third-Party Defendants,
                               Greg Reese, Mike Hand and Samantha Baker
   Case 3:23-cv-22130-MCR-ZCB       Document 183     Filed 04/03/25   Page 5 of 5




         CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(F)
      I certify that this motion and memorandum has 426 words, excluding

the case caption, signature block, and certificate of service, as calculated by

the word processing system used to create this document.

                                                    /s/ Gabrielle B. Adams




                           CERTIFICATE OF SERVICE
      I certify that on April 3, 2025, a true and correct copy of the foregoing

was submitted to the Clerk of the Court using the CM/ECF system, which will

send a notice of electronic filing to all counsel of record.

                                                    /s/ Gabrielle B. Adams
